     Case 3:16-md-02741-VC Document 2791 Filed 02/21/19 Page 1 of 10




 1
     WILKINSON WALSH + ESKOVITZ LLP                     ARNOLD & PORTER KAYE SCHOLER
 2   Brian L. Stekloff (pro hac vice)                   Pamela Yates (CA Bar No. 137440)
     (bstekloff@wilkinsonwalsh.com)                     (Pamela.Yates@arnoldporter.com)
 3   Rakesh Kilaru (pro hac vice)                       777 South Figueroa St., 44th Floor
     (rkilaru@wilkinsonwalsh.com)                       Los Angeles, CA 90017
 4   2001 M St. NW                                      Tel: 213-243-4178
     10th Floor                                         Fax: 213-243-4199
 5
     Washington, DC 20036
 6   Tel: 202-847-4030
     Fax: 202-847-4005
 7
                                                        COVINGTON & BURLING LLP
     HOLLINGSWORTH LLP
 8                                                      Michael X. Imbroscio (pro hac vice)
     Eric G. Lasker (pro hac vice)
                                                        (mimbroscio@cov.com)
 9   (elasker@hollingsworthllp.com)
                                                        One City Center
     1350 I St. NW
                                                        850 10th St. NW
10   Washington, DC 20005
                                                        Washington, DC 20001
     Tel: 202-898-5843                                  Tel: 202-662-6000
11   Fax: 202-682-1639
12
     Attorneys for Defendant
13   MONSANTO COMPANY
14
                                   UNITED STATES DISTRICT COURT
15
                                NORTHERN DISTRICT OF CALIFORNIA
16
                                                        )
17   IN RE: ROUNDUP PRODUCTS                            ) MDL No. 2741
     LIABILITY LITIGATION                               )
18                                                      ) Case No. 3:16-md-02741-VC
                                                        )
19                                                      )
     Hardeman v. Monsanto Co., et al.,                  ) MONSANTO COMPANY’S NOTICE OF
20   3:16-cv-0525-VC                                    ) FILING OF REPLACEMENT EXHIBITS
     Stevick v. Monsanto Co., et al.,                   ) TO THOSE PREVIOUSLY FILED
21   3:16-cv-2341-VC                                    ) UNDER SEAL
     Gebeyehou v. Monsanto Co., et al.,                 )
22   3:16-cv-5813-VC                                    )
23

24

25
            Please take notice that Monsanto Company (“Monsanto”) hereby submits, pursuant to the
26
     Court’s oral orders at the February 13 and 15 hearings, this Notice of Filing of Replacement
27
     Exhibits (“Notice”) to replace exhibits attached to motions and other filings in this litigation that
28
                                                     -1-
                 MONSANTO COMPANY’S NOTICE OF FILING OF REPLACEMENT EXHIBITS
                   3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
     Case 3:16-md-02741-VC Document 2791 Filed 02/21/19 Page 2 of 10




 1   the Court identified as over-redacted. The parties have reached agreement regarding which
 2   documents each will be responsible for re-filing. Monsanto understands that additional
 3   documents will be filed by plaintiffs on this date. For the documents filed as attachments to this
 4   Notice by Monsanto, to the extent they contain redactions, all of the redactions are redactions
 5   made by Monsanto with one exception. The 11/20/18 Expert Report of Dr. Sawyer, attached
 6   hereto as Exhibit 2, includes redactions by plaintiffs on the Cover Page to the Table of Contents
 7   and Numbered pages 1 and 10 of that Report; the remaining redactions within that Report were
 8   made by Monsanto.
 9            The discrete redactions Monsanto has made in the re-filed documents fit within three
10   categories: (1) redactions to protect the identities of individuals from the European Union based
11   on European privacy law; (2) redactions of individuals’ contact information (e.g., phone
12   numbers); and (3) redactions of confidential information regarding plaintiffs in lawsuits not
13   pending before this Court in light of protective orders issued in the other jurisdictions.1 None of
14   the discrete information that Monsanto has redacted is relevant to determination of the related
15   motions to which the redacted exhibits relate. The parties did not rely upon the redacted
16   information in briefing of these motions. Therefore, there is no need for the Court to make a
17   sealing decision or to keep an unredacted copy under seal and any lodged, unredacted copies
18   of these documents may be returned or destroyed just as the Court would not need to receive
19   an unredacted copy of a document revealing an irrelevant Social Security number where a
20   party redacts a Social Security number.
21            Regarding category (1), the Court has indicated that the names of these individuals are
22   “so peripheral to the case” that the Court would allow Monsanto to keep them under seal,
23   although as Monsanto notes above there is no need for the Court to have an unredacted copy
24   given that the information is irrelevant to the motions. Tr. of the Feb. 15, 2019 Hr’g at 97:21-23,
25   98:6-8 (“[G]iven the relative lack of importance, I think, you know, it’s probably not worth
26
     1
27     Certain depositions taken in lawsuits pending in other jurisdictions were submitted to this Court in connection with
     motions; however, the redacted personal information of those other plaintiffs is not relevant to the determination of
28   the motions before this Court.
                                                             -2-
                   MONSANTO COMPANY’S NOTICE OF FILING OF REPLACEMENT EXHIBITS
                     3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
     Case 3:16-md-02741-VC Document 2791 Filed 02/21/19 Page 3 of 10




 1   putting you-all through the trouble and heartache of dealing with that.”). Monsanto has also
 2   previously filed with its administrative motions a declaration from Elisabeth Dehareng, an
 3   attorney knowledgeable in European Union data privacy law, explaining the various reasons
 4   under European law to redact these individuals’ names in court filings. See, e.g., ECF No. 2413-
 5   1, Ex. 1. Furthermore, none of these European individuals’ names were cited or relied upon in
 6   any of the parties’ filings, and the names mentioned in the exhibits supporting the parties’
 7   pleadings are therefore not relevant to the motions themselves.
 8            Regarding category (2), the parties agree that personal identifying information may
 9   remain under seal. This information is likewise not relevant to or cited in any pleadings. The
10   Court also mentioned at both hearings that personal identifying information may be kept under
11   seal. Tr. of the Feb. 13, 2019 Hr’g at 221:24; Tr. of the Feb. 15, 2019 Hr’g at 95:3-6. Here too,
12   there is no need for the Court to have an unredacted copy given the redacted information is
13   irrelevant.
14            Regarding category (3), Monsanto has redacted solely personal information of third-party
15   plaintiffs from the Hall (Case No. 1622-CC0107 in the City of St. Louis) and Adams (Case No.
16   17SL-CC02721 in the County of St. Louis) cases. Monsanto made those redactions in light of
17   protective orders in those cases that limit disclosure beyond those cases.
18            Below, Monsanto has identified which documents it is re-filing, either in unredacted form
19   or minimally redacted due to one or more of the three above-described rationales.
20
         I.        DOCUMENTS INCLUDED IN THIS FILING
21

22                 a. Exhibits Filed with Monsanto’s January 3, 2019 Daubert Motion Regarding
                      Charles Benbrook (ECF 2417)
23
             Exhibit 1 of Motion to Exclude Benbrook (Benbrook MDL Expert Report Dated Nov. 20,
24            2018), attached hereto as Exhibit 1.
25           Exhibit 6 of Benbrook Daubert Motion (Benbrook 5/23/2018 and 8/14/2018 Deposition
26            Transcript), attached hereto as Exhibit 3.

27           Exhibit 3 of Benbrook Daubert Motion (Benbrook 2/9/2018 Deposition Transcript),
              attached hereto as Exhibit 4.
28
                                                    -3-
                   MONSANTO COMPANY’S NOTICE OF FILING OF REPLACEMENT EXHIBITS
                     3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
     Case 3:16-md-02741-VC Document 2791 Filed 02/21/19 Page 4 of 10




 1            b. Exhibits Filed with Monsanto’s January 30, 2019 Motion in Limine No. 6
 2               (ECF 2616)

 3        Exhibit 6 of Motion in Limine No. 6 (Benbrook MDL Expert Report Dated Nov. 20,
           2018), attached hereto as Exhibit 1.
 4
              c. Exhibits Filed with Monsanto’s January 3, 2019 Daubert Motion Regarding
 5               William Sawyer (ECF 2418)
 6
          Exhibit 2 of Sawyer Daubert Motion (Sawyer MDL Expert Report Dated Nov. 20, 2018),
 7         attached hereto as Exhibit 2.

 8        Exhibit 9 of Sawyer Daubert Motion (Sawyer 10/16/2018 Deposition Transcript),
           attached hereto as Exhibit 5.
 9
              d. Exhibits Filed with Plaintiffs’ January 25 Opposition to Monsanto’s Motion
10
                 for Summary Judgment on Non-Causation Grounds and Daubert Motions
11               Regarding Drs. Mills, Sawyer, and Benbrook (ECF 2559)

12        Exhibit 11 of Plaintiffs’ Opp. to Monsanto’s MSJ on Non-Causation Grounds and
           Daubert Motions (MONGLY02067858), attached hereto as Exhibit 35.
13

14        Exhibit 23 of Plaintiffs’ Opp. to Monsanto’s MSJ on Non-Causation Grounds and
           Daubert Motions (MONGLY01594842), attached hereto as Exhibit 36.
15
          Exhibit 30 of Plaintiffs’ Opp. to Monsanto’s MSJ on Non-Causation Grounds and
16         Daubert Motions (MONGLY01030787), attached hereto as Exhibit 37.
17
          Exhibit 32 of Plaintiffs’ Opp. to Monsanto’s MSJ on Non-Causation Grounds and
18         Daubert Motions (MONGLY01030799), attached hereto as Exhibit 38.

19        Exhibit 35 of Plaintiffs’ Opp. to Monsanto’s MSJ on Non-Causation Grounds and
           Daubert Motions (MONGLY02117800), attached hereto as Exhibit 39.
20

21        Exhibit 37 of Plaintiffs’ Opp. to Monsanto’s MSJ on Non-Causation Grounds and
           Daubert Motions (MONGLY01228576), attached hereto as Exhibit 40.
22
          Exhibit 38 of Plaintiffs’ Opp. to Monsanto’s MSJ on Non-Causation Grounds and
23         Daubert Motions (MONGLY00999487), attached hereto as Exhibit 41.
24        Exhibit 44 of Plaintiffs’ Opp. to Monsanto’s MSJ on Non-Causation Grounds and
25         Daubert Motions (MONGLY02932440), attached hereto as Exhibit 42.

26        Exhibit 46 of Plaintiffs’ Opp. to Monsanto’s MSJ on Non-Causation Grounds and
           Daubert Motions (MONGLY00890492), attached hereto as Exhibit 43.
27

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                                               -4-
               MONSANTO COMPANY’S NOTICE OF FILING OF REPLACEMENT EXHIBITS
                 3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
     Case 3:16-md-02741-VC Document 2791 Filed 02/21/19 Page 5 of 10




 1        Exhibit 49 of Plaintiffs’ Opp. to Monsanto’s MSJ on Non-Causation Grounds and
           Daubert Motions (MONGLY06253165), attached hereto as Exhibit 44.
 2
          Exhibit 50 of Plaintiffs’ Opp. to Monsanto’s MSJ on Non-Causation Grounds and
 3         Daubert Motions (MONGLY01192115), attached hereto as Exhibit 45.
 4        Exhibit 54 of Plaintiffs’ Opp. to Monsanto’s MSJ on Non-Causation Grounds and
 5         Daubert Motions (MONGLY02913526), attached hereto as Exhibit 46.

 6        Exhibit 55 of Plaintiffs’ Opp. to Monsanto’s MSJ on Non-Causation Grounds and
           Daubert Motions (MONGLY07107482), attached hereto as Exhibit 47
 7
          Exhibit 57 of Plaintiffs’ Opp. to Monsanto’s MSJ on Non-Causation Grounds and
 8
           Daubert Motions (MONGLY00987755), attached hereto as Exhibit 48.
 9
          Exhibit 58 of Plaintiffs’ Opp. to Monsanto’s MSJ on Non-Causation Grounds and
10         Daubert Motions (MONGLY03293245), attached hereto as Exhibit 49.
11
          Exhibit 59 of Plaintiffs’ Opp. to Monsanto’s MSJ on Non-Causation Grounds and
12         Daubert Motions (MONGLY03293245 (same as Ex 58)), attached hereto as Exhibit 50.

13        Exhibit 76 of Plaintiffs’ Opp. to Monsanto’s MSJ on Non-Causation Grounds and
           Daubert Motions (MONGLY01075506), attached hereto as Exhibit 51.
14

15        Exhibit 89 of Plaintiffs’ Opp. to Monsanto’s MSJ on Non-Causation Grounds and
           Daubert Motions (Benbrook Depo (Part 1, 2/8/18), attached hereto as Exhibit 52.
16
          Exhibit 88 of Plaintiffs’ Opp. To Monsanto’s MSJ and Daubert (Benbrook 2/9/2018
17         Deposition Transcript), attached hereto as Exhibit 4.
18
          Exhibit 4 of Plaintiffs’ Opp. To Monsanto’s MSJ (Monsanto’s Response to Requests for
19         Admission in D. Johnson), attached hereto as Exhibit 6.

20        Exhibit 8 of Plaintiffs’ Opp. To Monsanto’s MSJ and Daubert (MONGLY01314233),
           attached hereto as Exhibit 7.
21

22        Exhibit 24 of Plaintiffs’ Opp. To Monsanto’s MSJ and Daubert (MONGLY00904009),
           attached hereto as Exhibit 8.
23
          Exhibit 25 of Plaintiffs’ Opp. To Monsanto’s MSJ and Daubert (MONGLY01312107),
24         attached hereto as Exhibit 9.
25
          Exhibit 26 of Plaintiffs’ Opp. To Monsanto’s MSJ and Daubert. (MONGLY03734971),
26         attached hereto as Exhibit 10.

27        Exhibit 27 of Plaintiffs’ Opp. To Monsanto’s MSJ and Daubert (MONGLY00878876),
           attached hereto as Exhibit 11.
28
                                                 -5-
               MONSANTO COMPANY’S NOTICE OF FILING OF REPLACEMENT EXHIBITS
                 3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
     Case 3:16-md-02741-VC Document 2791 Filed 02/21/19 Page 6 of 10




 1
          Exhibit 33 of Plaintiffs’ Opp. To Monsanto’s MSJ and Daubert (MONGLY02078597),
 2         attached hereto as Exhibit 12.

 3        Exhibit 36 of Plaintiffs’ Opp. To Monsanto’s MSJ and Daubert (MONGLY02145917),
           attached hereto as Exhibit 13.
 4

 5        Exhibit 39 of Plaintiffs’ Opp. To Monsanto’s MSJ and Daubert(MONGLY01183933),
           attached hereto as Exhibit 14.
 6
          Exhibit 41 of Plaintiffs’ Opp. To Monsanto’s MSJ and Daubert (MONGLY01041641),
 7         attached hereto as Exhibit 15.
 8
          Exhibit 43 of Plaintiffs’ Opp. To Monsanto’s MSJ and Daubert (MONGLY02359008),
 9         attached hereto as Exhibit 16.

10        Exhibit 47 of Plaintiffs’ Opp. To Monsanto’s MSJ and Daubert (MONGLY06262795),
           attached hereto as Exhibit 17.
11

12        Exhibit 51 of Plaintiffs’ Opp. To Monsanto’s MSJ and Daubert-(MONGLY02062439),
           attached hereto as Exhibit 18.
13
          Exhibit 53 of Plaintiffs’ Opp. To Monsanto’s MSJ and Daubert- (MONGLY00989918),
14         attached hereto as Exhibit 19.
15
          Exhibit 60 of Plaintiffs’ Opp. To Monsanto’s MSJ and Daubert (MONGLY02682357),
16         attached hereto as Exhibit 20

17        Exhibit 77 of Plaintiffs’ Opp. To Monsanto’s MSJ and Daubert (Expert Report of
           William Sawyer in Johnson case (dated Dec. 21, 2017), attached hereto as Exhibit 21.
18

19        Exhibit 72 of Plaintiff’s Opp. To Monsanto’s MSJ and Daubert, attached hereto as
           Exhibit 2.
20
              e. Exhibits Filed with Monsanto’s January 30 Motion in Limine No. 2 and
21               Plaintiffs’ Opposition to the Motion in Limine (ECF 2611)
22        Exhibit C of Plaintiffs’ Opp. to MIL No. 2 (MONGLY00977264), attached hereto as
23         Exhibit 22.

24        Exhibit H of Plaintiffs’ Opp. to MIL No. 2 (MONGLY02145917), attached hereto as
           Exhibit 23.
25
              f. Exhibits Filed with Monsanto’s January 30 Motion in Limine No. 7 and
26               Plaintiffs’ Opposition to the Motion in Limine (ECF 2617)
27
          Exhibit 7 of Plaintiffs’ Opp. to MIL No. 7 (MONGLY01090874), attached hereto as
28         Exhibit 24.
                                                 -6-
               MONSANTO COMPANY’S NOTICE OF FILING OF REPLACEMENT EXHIBITS
                 3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
     Case 3:16-md-02741-VC Document 2791 Filed 02/21/19 Page 7 of 10




 1            g. Exhibits Filed with Monsanto’s January 30 Motion in Limine No. 10 and
 2               Plaintiffs’ Opposition to the Motion in Limine (ECF 2620)

 3        Exhibit 2 of Plaintiffs’ Opp. to MIL No. 10 (MONGLY01312109), attached hereto as
           Exhibit 25.
 4
          Exhibit 3 of Plaintiffs’ Opp. to MIL No. 10 (MONGLY01312093), attached hereto as
 5
           Exhibit 26.
 6
          Exhibit 4 of Plaintiffs’ Opp. to MIL No. 10 (MONGLY06486905), attached hereto as
 7         Exhibit 27.

 8        Exhibit 7 of Plaintiffs’ Opp. to MIL No. 10 (MONGLY01192115), attached hereto as
           Exhibit 28.
 9
          Exhibit 15 of Plaintiffs’ Opp. to MIL No. 10 (MONGLY00978962), attached hereto as
10
           Exhibit 29.
11
              h. Exhibits Filed with Monsanto’s January 3 Daubert Motion to Exclude
12               Testimony of Drs. Nabhan, Shustov, and Weisenburger (ECF 2620)
13        Exhibit 12 of Motion to Exclude on Daubert Grounds (Nabhan Deposition in Adams,
           dated 11/15/18), attached hereto as Exhibit 30.
14

15        Exhibit 12 of Motion to Exclude on Daubert Grounds (Weisenburger Deposition in
           Adams, dated 11/26/2018), attached hereto as Exhibit 31.
16
              i. Exhibits Filed with Plaintiffs’ January 11 Response to Monsanto’s Specific
17               Causation and Daubert Motions (ECF 2479)
18
          Exhibit 21 of Plaintiffs’ Response to Monsanto’s Specific Causation and Daubert
19         Motions (MONGLY01075506), attached hereto as Exhibit 33.

20        Exhibit 33 of Plaintiffs’ Response to Monsanto’s Specific Causation and Daubert
           Motions (Connie Welch Deposition), attached hereto as Exhibit 34.
21
              j. Exhibits Filed with Plaintiffs’ January 15 Letter Brief re Plaintiffs’ Issue 1
22
                 (ECF 2492)
23
          Exhibit 19 of Letter Brief re Plaintiff’s Issue 1 (MONGLY00233235), attached hereto as
24         Exhibit 53.

25        Exhibit 21 of Letter Brief re Plaintiff’s Issue 1 (MONGLY04278162), attached hereto as
           Exhibit 54.
26

27            k. Exhibits Filed with Plaintiffs’ January 15 Letter Brief re Plaintiffs’ Issue 2
                 (ECF 2494)
28
                                                -7-
               MONSANTO COMPANY’S NOTICE OF FILING OF REPLACEMENT EXHIBITS
                 3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
     Case 3:16-md-02741-VC Document 2791 Filed 02/21/19 Page 8 of 10




 1           Exhibit 2 of Letter Brief re Plaintiffs’ Issue 2 (MONGLY01825807), attached hereto as
              Exhibit 55.
 2
             Exhibit 6 of Letter Brief re Plaintiffs’ Issue 2 (Deposition of Dr. Goldstein), attached
 3            hereto as Exhibit 56.
 4
             Exhibit 8 of Letter Brief re Plaintiffs’ Issue 2 (MONGLY02836502), attached hereto as
 5            Exhibit 57.

 6           Exhibit 10 of Letter Brief re Plaintiffs’ Issue 2 (MONGLY07575511) attached hereto as
              Exhibit 58.
 7

 8           Exhibit 12 of Letter Brief re Plaintiffs’ Issue 2 (MONGLY07577414) attached hereto as
              Exhibit 59.
 9
             Exhibit 13 of Letter Brief re Plaintiffs’ Issue 2 (MONGLY04773726), attached hereto as
10            Exhibit 60.
11
             Exhibit 14 of Letter Brief re Plaintiffs’ Issue 2 (MONGLY07593368), attached hereto as
12            Exhibit 61.

13           Exhibit 15 of Letter Brief re Plaintiffs’ Issue 2 (MONGLY07585581), attached hereto as
              Exhibit 62.
14

15               l. Exhibits Filed with Plaintiffs’ January 15 Letter Brief re Plaintiffs’ Issue 3
                    (ECF 2496)
16

17           Exhibit 11 of Letter Brief re Plaintiffs’ Issue 3 (MONGLY02626553), attached hereto as
              Exhibit 32.
18
             Exhibit 3 of Letter Brief re Plaintiffs’ Issue 3 (Deposition of Mark Martens), attached
19            hereto as Exhibit 63.
20               m. Exhibits Filed with Monsanto’s January 30 Motion in Limine No. 12 (ECF
21                  2622)

22           Exhibit of Monsanto’s Motion in Limine No. 12, attached hereto as Exhibit 2.

23      II.      OTHER CONSIDERATIONS FOR THE COURT

24               a. Monsanto is Not Re-Filing One Document Inadvertently Filed Under Seal
                    and Asks that the Document Be Removed from the Docket.
25
              Monsanto respectfully requests that the Court remove from the docket the Deposition of
26
     William Sawyer (dated August 23, 2018). This document was inadvertently attached to
27
     Monsanto’s Administrative Motion to Seal on January 3, 2018 (ECF No. 2413), but the
28
                                                      -8-
                  MONSANTO COMPANY’S NOTICE OF FILING OF REPLACEMENT EXHIBITS
                    3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
     Case 3:16-md-02741-VC Document 2791 Filed 02/21/19 Page 9 of 10




 1   document was not relied upon or cited by the parties. Monsanto therefore asks that the Court
 2   remove the filing from its docket as it has not been attached as an exhibit to any of the pleadings
 3   before the Court and therefore is not relevant to the matters before the Court.
 4              b. Monsanto’s Removal of Certain Redactions Is Not a Waiver of Future
                   Arguments Regarding Redaction of Similar Types of Information.
 5
            By removing certain redactions upon the Court’s order, such as confidential formula
 6
     information or the details of confidential business contracts, Monsanto is not waiving any
 7
     arguments or its position that these types of information should be redacted in future filings.
 8
     Monsanto submitted declarations in support of sealing regarding the confidential nature of this
 9
     information prior to the Court’s oral rulings. While Monsanto has decided to comply with the
10
     Court’s oral order as to this specific information under the particular circumstances here,
11
     Monsanto believes that product formulations are confidential, proprietary, and should not be
12
     made publicly available. Monsanto does not waive any arguments regarding its position to seal
13
     or otherwise protect proprietary and confidential product formulations, confidential business
14
     contracts, proprietary and confidential research, or other proprietary and/or confidential
15
     information in the future.
16

17
     Executed this 21st day of February 2019.
18
                                                   /s/ Eric G. Lasker___________
19

20                                                Brian L. Stekloff (pro hac vice)
                                                  (bstekloff@wilkinsonwalsh.com)
21                                                Rakesh Kilaru (pro hac vice)
                                                  (rkilaru@wilkinsonwalsh.com)
22                                                WILKINSON WALSH + ESKOVITZ LLP
                                                  2001 M St. NW
23                                                10th Floor
24                                                Washington, DC 20036
                                                  Tel:     202-847-4030
25                                                Fax:     202-847-4005

26                                                Pamela Yates (CA Bar No. 137440)
                                                  (Pamela.Yates@arnoldporter.com)
27
                                                  ARNOLD & PORTER KAYE SCHOLER
28                                                777 South Figueroa St., 44th Floor
                                                    -9-
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     Case 3:16-md-02741-VC Document 2791 Filed 02/21/19 Page 10 of 10




                                            Los Angeles, CA 90017
 1
                                            Tel: 213-243-4178
 2                                          Fax: 213-243-4199

 3                                          Eric G. Lasker (pro hac vice)
                                            (elasker@hollingsworthllp.com)
 4                                          HOLLINGSWORTH LLP
                                            1350 I St. NW
 5                                          Washington, DC 20005
 6                                          Tel: 202-898-5843
                                            Fax: 202-682-1639
 7
                                            Michael X. Imbroscio (pro hac vice)
 8                                          (mimbroscio@cov.com)
                                            COVINGTON & BURLING LLP
 9                                          One City Center
10                                          850 10th St. NW
                                            Washington, DC 20001
11                                          Tel: 202-662-6000

12                                          Attorneys for Defendant
                                            MONSANTO COMPANY
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              MONSANTO COMPANY’S NOTICE OF FILING OF REPLACEMENT EXHIBITS
                3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
